Stated somewhat tersely, but according to its form and terms, Rem. Rev. Stat., § 11201 [P.C. § 7051] provides that all property within the jurisdiction of this state, and any interest therein, which shall pass by will, or by the statutes of inheritance, or by deed, sale, or gift made in contemplation of death, shall be subject to a tax as provided for in § 11202 [P.C. § 7053], afterthe payment of all debts of the decedent, local and state taxes due from the estate prior to his death, a reasonable sum for funeral expenses, fees of executors, administrators, or trustees, and certain other expenses and allowances, such debts, however, not to be deducted unless the same have been duly allowed or established within the time provided by law; and that the inheritance tax shall be and remain a lien on such estate from the death of the decedent until paid.
In my opinion, this statute clearly states and means that only so much of the estate as remains after the *Page 92 
payment of the debts and expenses designated shall be subject to an inheritance tax, and that the inheritance tax constitutes a lien upon only so much of the estate as thus remains.
The proof in this case showed, and the court found, that the proceeds from the sale of the real estate here involved were in fact used by the executor to apply toward the expenses of administration and claims that had been filed and allowed in the estate, and that such proceeds were necessary for that purpose.
Rem. Rev. Stat., § 1494 [P.C. § 9976], in so far as it is pertinent here, provides as follows:
"Whenever it shall appear to the satisfaction of the court that any portion or all of the real property should be sold or mortgaged for the purpose of raising money to pay the debts and obligations of the estate, the expenses of administration, inheritance tax or for the support of the family, the court may order the sale or mortgage of such portion of the real property as appears to the court necessary for the purpose aforesaid. . .. "
Certainly, the statutes above referred to do not mean, and should not be held to mean, that if real estate is ordered to be, or is, sold to pay debts, expenses of administration, inheritance taxes, etc., or is found by the court to have been sold for those purposes, the lien for inheritance taxes nevertheless continues to exist upon such real estate after the property has thus been sold.
I therefore dissent.
MILLARD, C.J., MITCHELL, and HOLCOMB, JJ., concur with STEINERT, J. *Page 93 